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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DADE DIVISION

 ARANTZA CASTRO,                                        CASE NO.: 1:24-cv-20247-PCH
 Plaintiff,

 vs.

 IKEA NORTH AMERICA SERVICES, LLC.

 a Foreign for Profit Corporation


       Defendant,
 ____________________________________________/

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

 Plaintiff, ARANTZA CASTRO by and through his undersigned counsel, hereby files this Notice
 of Voluntary Dismissal dismissing his action against Defendant.


                                                        Respectfully Submitted,

                                                        MENDEZ LAW OFFICES, PLLC
                                                        Attorney for Plaintiff
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                                                        By: /s/ Diego German Mendez
                                                        DIEGO GERMAN MENDEZ, ESQ.
                                                        FL BAR NO.: 52748

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